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                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF NEW YORK

STEPHEN KERSHNAR,

                   Plaintiff,                  Case No.: 1:23-cv-00525
      v.
STEPHEN H. KOLISON, JR, in his
individual capacity and his official
capacity as the President of the State
University of New York at Fredonia, and
DAVID STARRETT, in his individual
capacity and official capacity as Executive
Vice President and Provost of the State
University of New York at Fredonia,
                   Defendants.


                    MEMORANDUM IN SUPPORT OF
               MOTION FOR PRELIMINARY INJUNCTION
           ON FIRST, SECOND, AND THIRD CAUSES OF ACTION

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                                 INTRODUCTION

      Distinguished Teaching Professor Stephen Kershnar is a philosopher and

public intellectual. His role is to question the unquestionable, challenging fellow

scholars and students to sharpen their own logical arguments about morality—

including the moral issues implicated by sexual conduct involving adolescents and

children. These are the well-traveled paths of philosophical inquiry among the “social

sciences, where few, if any, principles are accepted as absolutes.” Sweezy v. New

Hampshire, 354 U.S. 234, 250 (1957). Renowned for his ability to engage with

challenging ideas, SUNY showered him with accolades touting his Socratic skill.

      But when Prof. Kershnar’s comments on a philosophy podcast caused a passing

storm on Twitter, SUNY Fredonia President Stephen Kolison leapt onto the online

dogpile. He reflexively decided that Kershnar’s comments—off-campus, unrelated to

his job duties, and making arguments he had made for decades—outweighed decades

of scholarship. President Kolison immediately joined in denouncing Kershnar on

Twitter, then summarily barred him from teaching, exiled him from campus, directed

campus police to search his office, and prohibited him from communicating with the

“campus community.” For sixteen months, President Kolison and Provost Starrett

have continued Kershnar’s exile, citing unnamed “safety concerns” that the

university cannot describe and refuses to identify. Meanwhile, SUNY Fredonia

struggles to find an instructor to fill the classes that Kershnar mastered.

      It is time to end SUNY Fredonia’s apparent imposition of a social media

“heckler’s veto,” which is anathema to scholars’ ability to offer ideas unpopular with

administrators, lawmakers, and the public.

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                               STATEMENT OF FACTS1

Professor Kershnar’s long history of provocative philosophical inquiry is
rewarded by SUNY and praised by SUNY Fredonia.

       Dr. Stephen Kershnar is an award-winning Distinguished Teaching Professor

at SUNY Fredonia, where he has taught philosophy courses since 1998. (Verif.

Compl. ¶¶ 35–41.) Kershnar is renowned for his thoughts on the philosophical

underpinnings of morality. (Verif. Compl. ¶¶ 12–13, 22, 24–26, 37–41, 45–48.; Decl.

Adam Steinbaugh (“Steinbaugh Decl.”) ¶¶ 6–8, Exs. 3–5.) In keeping with the

intellectual tradition of Socratic inquiry, Kershnar stakes out provocative positions

to question the assumptions society makes about morality. (Id.; Decl. Neil Feit (“Feit

Decl.”) ¶ 5.)

       SUNY Fredonia praised Kershnar’s scholarly examinations of our society’s

moral commitments on a host of issues, including abortion, slavery, and torture.

(Decl. Steinbaugh ¶¶ 6–8, Exs. 3–5.) When SUNY named Kershnar a Distinguished

Teaching Professor (its “highest academic honor” and rank) and awarded him the

“Chancellor’s Award of Excellence” in teaching, SUNY Fredonia issued press releases

lauding his iron-sharpens-iron approach, boasting:

                Dr. Kershnar has established a reputation as one of the most
                prolific authors on campus . . . . His works cover a wide
                spectrum, including politics, ethics, religion, law and sports.
                He is known for promoting unpopular or previously ignored
                positions that often leads those who disagree with him to
                sharpen their own views when reacting to his reasoning.



       1All facts are from the Verified Complaint (“Verif. Compl.”) (Doc. 1) or the
declarations supporting this motion. Plaintiff incorporates the verified allegations
from the Verified Complaint and the declarations supporting this motion.


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(Steinbaugh Decl. ¶¶ 7–8, Exs. 4–5.) And SUNY Fredonia praised Kershnar’s

willingness to engage in challenging explorations on the moral questions involved in

sexual conduct between adults and adolescents, referencing it even in his prominent

bio on the university’s website. (Steinbaugh Decl. ¶ 6, Ex. 3.)

After brief clips of Kershnar’s off-campus podcast debates go viral, SUNY
Fredonia reverses course and joins the Twitter condemnations.

      SUNY Fredonia’s support for Kershnar’s freedom of inquiry ended abruptly

when strident online critics came calling. On December 5, 2020, Kershnar had

appeared on Unregistered, a podcast featuring interviews with “people who break the

rules of conventional discourse and expand the realm of the possible,” discussing—

again—the moral assumptions underlying age-of-consent laws and prohibitions on

adult-minor sexual contact. (Steinbaugh Decl. ¶¶ 9–10, Exs. 6–7.) These are matters

upon which Kershnar had published books and articles over the years. (Verif.

Compl. ¶¶ 24–26; Decl. Stephen Kershnar (“Kershnar Decl.”) ¶ 4, Ex. 34.)

      Then, on January 30, 2022, Kershnar appeared on Brain in a Vat, a

“philosophy smorgasbord” podcast offering “[t]hought experiments and conversations

with philosophers” like Kershnar. (Steinbaugh Decl. ¶¶ 11–13, Exs. 8–10.) Neither

podcast had any relationship with SUNY Fredonia, neither was promoted to the

SUNY Fredonia community, and the university did not ask Kershnar to appear on

these (or any) podcasts. (Verif. Compl. ¶¶ 30–33, 55–58, 63–67, 70–72.)

      On February 1, 2022, a 28-second video clip of Kershnar’s hourlong Brain in a

Vat discussion—coupled with other excerpts of his philosophic inquiry—went viral on

Twitter. (Steinbaugh Decl. ¶¶ 14–15, Exs. 11–12.)



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President Kolison denounces Kershnar, initiates a campus police
investigation, bars him from teaching and from campus, and silences him.

      Just three hours after the first tweet, SUNY Fredonia President Stephen

Kolison issued a statement condemning Kershnar’s “reprehensible” views as

unrepresentative of “the values of SUNY Fredonia in any way, shape or form” and

stating that the “matter is being reviewed.” (Steinbaugh Decl. ¶ 16, Ex. 13.) That

evening, a campus police dispatcher told two callers, who called to complain about

Kershnar, that they were investigating Kershnar. (Steinbaugh Decl. ¶ 20(a), Ex. 15.)

      The next evening, as media coverage continued, Kolison directed SUNY

Fredonia University Police Chief Brent Isaacson to seize Kershnar’s computer for

“analysis” and bar him from campus. (Verif. Compl. ¶¶ 82–83, 85–88, 94–98;

Steinbaugh Decl. ¶¶ 20(c)–(e), Exs. 17–19.)

      On the morning of February 3, Chief Isaacson directed Kershnar to avoid

campus. (Verif. Compl. ¶¶ 85–86; Steinbaugh Decl. ¶ 20(e), Ex. 19.) Chief Isaacson

told Kershnar that there were safety concerns, but did not specify their nature. (Verif.

Compl. ¶ 87.) Kershnar asked Chief Isaacson for information about any threats and

the anticipated length of his banishment. (Verif. Compl. ¶ 87, 89; Kershnar Decl. ¶ 5,

Ex. 35.) Kershnar also offered to teach remotely to mitigate any plausible safety

concerns, while pointing out that barring him from teaching altogether effected a

“heckler’s veto.” (Id.). Isaacson did not respond. (Verif. Compl. ¶ 93.)

      By mid-day on February 3, 2022, SUNY Fredonia’s director of human

resources, Maria Carroll, emailed Kershnar, barring him from campus “until further

notice” and prohibiting any “contact with the campus community” without her



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permission. (Kershnar Decl. ¶¶ 6–7, Exs. 36–37.) Carroll’s letter invoked a

disciplinary provision of SUNY’s collective bargaining agreement authorizing

President Kolison to reassign faculty to alternative duties in advance of disciplinary

action. (Kershnar Decl. ¶ 6, Ex. 36; Steinbaugh Decl. ¶ 5, Ex. 2 at Art. 19.11(c).)

      That afternoon, President Kolison issued a second statement announcing that

Kershnar was to have no “physical presence on campus and will not have contact with

students while” an “expeditious” investigation “is ongoing.” (Steinbaugh Decl. ¶ 17,

Ex. 14.) Kolison again publicly denounced Kershnar’s “abhorrent” views, urging that

he could not “stress strongly enough that the independent viewpoints” of Kershnar

“are in no way representative of the values of the SUNY Fredonia campus.” (Id.)

      On February 4, Carroll declined to provide any information about the “specific

threats” because of what she called the “volume involved.” (Kershnar Decl. ¶ 7,

Ex. 37.) Carroll told Kershnar that the “duration” of his removal “is unknown,

because the safety concerns . . . for now, remain ongoing.” (Id.)      Carroll did not

disclose the nature or number of any purported “threats,” citing their “volume.” (Id.)

Sixteen months later, Kershnar remains barred from teaching and campus
while SUNY Fredonia struggles to find lecturers for his classes.

      In the sixteen months that followed, SUNY Fredonia has not told Kershnar

what the “specific threats” are. (Verif. Compl. ¶¶ 93, 99–100, 118, 125, 128–129, 178;

Kershnar Decl. ¶ 7, Ex. 37.) The FBI says it is unaware of any specific threats.

(Kershnar Decl. ¶ 11, Ex. 41.) The local, county, and state police have no records of

any threats or investigations that appear to be related to Kershnar. (Steinbaugh Decl.

¶¶ 25–30, Exs. 24–28.) And SUNY Fredonia’s own daily crime log—required by the



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Clery Act—does not reference any reported threats. (Steinbaugh Decl. ¶ 31, Ex. 29.)

The momentary public reaction has long since waned and critical emails to Kershnar

have slowed to a trickle. (Steinbaugh Decl. ¶ 33, Ex. 31; Verif. Compl. ¶ 152.) And, in

response to outcry from academic freedom organizations and faculty around the

world, SUNY Fredonia acknowledged that Kershnar’s speech was protected by the

First Amendment. (Steinbaugh Decl. ¶¶ 21–24, Exs. 20–23.)

      Yet Kershnar remains barred from teaching, from campus, and from

communicating with the “campus community,” without permission. (Verif. Compl.

¶ 113.) On August 24, 2022, Executive Vice President and Provost David Starrett

sent Kershnar a letter renewing his exile “due to ongoing concerns regarding your

safety and the safety of others on campus should you return[.]” (Kershnar Decl. ¶ 8,

Ex. 38.) On September 9, 2022, Starrett wrote to Kershnar again, stating that the

university had not decided whether to allow Kershnar to teach “due to ongoing

concerns regarding your safety and the safety of others on campus should you return

to the campus.” (Kershnar Decl. ¶ 9, Ex. 39.) And on November 1, 2022, Provost

Starrett sent Kershnar a third letter, barring him from teaching during the Spring

2023 semester. (Kershnar Decl. ¶ 10, Ex. 40.)

      None of these describes the nature of, or basis for, any safety concerns. Each

cites the same unidentified “your safety” language; none cites the possibility of

disciplinary action relied on in the February 2022 suspension letter. (Cf. Kershnar

Decl. ¶¶ 6–10, Exs. 36–40.) When confronted by a faculty member, President Kolison

refused to say whether the publicly announced investigation had concluded, citing




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privacy interests. (Feit Decl. ¶¶ 14–16, 23, Ex. 42 at 6.) Starrett refused to tell faculty

whether there were any safety concerns. (Feit Decl. ¶¶ 17–20, Ex. 42 at 8.)

       This fall, SUNY Fredonia is offering multiple sections of classes Kershnar

teaches. (Verif. Compl. ¶¶ 173; Steinbaugh Decl. ¶ 35, Ex. 33.) It has not assigned an

instructor and has struggled to find lecturers. (Feit Decl. ¶¶ 6–13, 21–25, Exs. 42–43;

Steinbaugh Decl. ¶ 34–35, Exs. 32–33.) It will not permit Kershnar to teach these

classes. (Feit Decl. ¶ 28, Ex. 44.)

                                      ARGUMENT

       To obtain a preliminary injunction, Kershnar must establish “(1) irreparable

harm absent injunctive relief, (2) a likelihood of success on the merits, and (3) public

interest weighing in favor of granting the injunction.” Agudath Israel of Am. v.

Cuomo, 983 F.3d 620, 631 (2d Cir. 2020) (granting preliminary injunction against

COVID-19 restrictions on houses of worship).

       Prof. Kershnar meets each factor. The first factor requires little elucidation:

The loss of First Amendment freedoms “for even minimal periods of time” is always

irreparable harm, Elrod v. Burns, 427 U.S. 347, 373 (1976), and nothing suggests

SUNY Fredonia will stop, absent a court order, exiling Kershnar from the classroom

due to his protected expression. Additionally, as the Second Circuit’s decision in Levin

establishes, removing a professor from teaching due to public controversy over his

views violates the First Amendment. Levin v. Harleston, 966 F.2d 85, 88 (2d Cir.

1992). Levin, too, shows that the cardinal public interest in academic freedom means

administrators cannot allow public anger—or even serious threats of violence, as in

Levin—to dictate what ideas may be expressed by faculty. Thus, Kershnar is likely

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to succeed on the merits of his claims under the First Amendment alleging content

and viewpoint discrimination (Claim No. 1), retaliation (Claim No. 2), and prior

restraint (Claim No. 3).

I.    Kershnar Is Likely to Succeed in Challenging SUNY Fredonia’s
      Content and Viewpoint Discrimination.

      Public employment “does not result in the evisceration of an employee’s First

Amendment rights.” Johnson v. Ganim, 342 F.3d 105, 112 (2d Cir. 2003). Instead,

public employees are citizens with the right “to comment on matters of public

interest” without fear of adverse action by their state employer. Pickering v. Bd. of

Educ., 391 U.S. 563, 568 (1968) (public school teacher’s letter to the editor criticizing

his employer was protected by the First Amendment).

      Where, as here, a public university professor speaks as a private citizen on

matters of public concern, the burden shifts to his university employer to show that

the professor’s speech itself is likely to disrupt the educational environment and that

the “harm caused by the disruption outweighs the value” of his expression. Smith v.

Cnty. of Suffolk, 776 F.3d 114, 119 (2d Cir. 2015); see also Melzer v. Bd. of Educ., 336

F.3d 185, 197 (2d Cir. 2003) (employer must show employee’s speech “is disruptive to

the internal operations of the governmental unit in question”), Levin, 966 F.2d at 88

(public university had no “legitimate educational interest” in disciplining philosophy

professor for protected speech outside the classroom).

      Defendants cannot meet their burden. Brief social media opposition to a

professor’s views cannot outweigh the fundamental public interest in unfettered

discourse by university faculty. The character and length of the Defendants’ actions



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reveal—as President Kolison’s public denunciations of Kershnar made clear

enough—that they acted not to thwart potential disruption, but to retaliate.

      A.     Kershnar Spoke as a Private Citizen on Matters of Public
             Concern.

      Kershnar’s speech—on two podcasts with no relationship to SUNY Fredonia—

was that of a private citizen addressing matters of public concern, namely thorny

questions of the relationship between sex, morals, and law. Because he spoke as a

private citizen on matters of public concern, the burden shifts to Defendants to prove

that each of their actions in response were intended to avoid reasonable predictions

of disruption.

             1.     Kershnar’s off-campus speech, removed from his official duties,
                    was that of a private citizen.

      Kershnar spoke as a private citizen during both podcasts because his speech

was outside [his] official responsibilities” and because podcasts are a form of speech

widely available to non-employee citizens. See Montero v. City of Yonkers, 890 F.3d

386, 397 (2d Cir. 2018).

      First, Kershnar’s podcast appearances are not “speech that owes its existence

to [his] professional responsibilities[.]” Garcetti v. Ceballos, 547 U.S. 410, 421 (2006).2

The “critical question . . . is whether the speech at issue is ordinarily within the scope

of an employee’s duties[.]” Lane v. Franks, 573 U.S. 228, 240 (2014). Appearing on



      2   Even if Kershnar spoke pursuant to his academic duties, his speech would
still be analyzed under Pickering’s balancing test. See, e.g., Meriwether v. Hartop, 992
F.3d 492, 505–09 (6th Cir. 2021) (university professor’s speech while “engaged in core
academic functions, such as teaching and scholarship” is not subject to Garcetti due
to the “robust tradition of academic freedom” in universities).


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extramural podcasts is not “ordinarily” among Kershnar’s duties. Duties of SUNY

faculty are those “consistent with” their “academic rank” or “title,” specifically

including “teaching” and responsibilities “required” of the faculty member.

(Steinbaugh Decl. ¶ 4, Ex. 1 at Art. XI, Title H, § 2.) Appearing on podcasts is neither

teaching nor required of Kershnar, who prepares for and appears on podcasts on his

own time—and, indeed, recorded the Brain in a Vat podcast in his home. (Verif.

Compl. ¶¶ 30–33, 57–58, 65–67, 70–72.) SUNY Fredonia pays its faculty—as

Kershnar’s “Distinguished Teaching Professor” title and academic rank reflects—to

teach, not to do podcasts. Nor has SUNY Fredonia ever “required” Kershnar to appear

on any podcast, facilitated his appearances, or publicized his appearances. (Verif.

Compl. ¶ 30–33.)

      Put differently, Kershnar’s podcast appearances are not speech that the

university “itself has commissioned or created.” Garcetti, 547 U.S. 410 at 422. To the

contrary, SUNY policy recognizes that extramural speech—that is, expression

outside of the classroom—is citizen speech, distinguishing between “inquiry, teaching

and research” from faculty members’ “role as citizens,” in which they “have the same

freedoms as other citizens.” (Steinbaugh Decl. ¶ 4, Ex. 1 at Art. XI, Title I, § 1.)

      Second, podcast appearances are not an avenue of expression reserved to

university faculty—it’s a nascent medium used by millions of people. That speech

occurs in a “form or channel of discourse available to non-employee citizens,” like a

“letter to the editor,” is a strong indication that the speech is that of citizen, not

employee. Weintraub v. Bd. of Educ., 593 F.3d 196, 204 (2d Cir. 2010).




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             2.     Kershnar’s speech addressed the legal and moral status of sex,
                    which are matters of public concern.

      Kershnar’s speech addressed matters of public concern, however objectionable

others might find his line of inquiry.

      Whether speech addresses a matter of public concern is a question of law

considering the “content, form, and context of a given statement.” Melzer, 336 F.3d at

196. What qualifies as a matter of “public concern” is broadly construed, reaching

“any matter of political, social, or other concern to the community,” rather than that

of pure “personal interest.” Connick v. Myers, 461 U.S. 138, 146–47 (1983). Kershnar

need only establish that his speech may be “fairly characterized” as addressing

matters of public concern. Id. at 146.

      Kershnar’s speech, directed to an audience interested in thinking through

difficult questions of ethics and morality, concerns complex questions around the

proper relationship between sex and the law. Sex “has indisputably been a subject of

absorbing interest to mankind through the ages” as “one of the vital problems of

human interest and public concern.” Roth v. United States, 354 U.S. 476, 487 (1957).

So, too, is “child sex abuse” an “obvious” matter of “widespread public interest.” Cross

v. Cooper, 197 Cal. App. 4th 357, 375 (2011); see also, e.g., Melzer, 336 F.3d at 198

(“[A]ttitudes and laws regarding age of consent” are matters of public concern). That

the speech may be “inappropriate or controversial” is irrelevant to whether it

addresses a matter of public concern. Rankin v. McPherson, 483 U.S. 378, 387 (1987)

(police staff comments hoping President Reagan would be assassinated addressed a

matter of public concern).



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      B.      Defendants cannot show their restrictions serve a legitimate
              educational interest.

      To overcome Kershnar’s interest in speaking on matters of public concern,

Defendants bear the burden to show that his speech “is disruptive to the internal

operations of the governmental unit in question.” Melzer, 336 F.3d at 197. In the

context of higher education, that requires the university to establish that its actions

serve a “legitimate educational interest.” Levin, 966 F.2d at 88 (university’s

interference with philosophy professor’s classes due to student protests over his views

violated the First Amendment).

      To meet their burden, the Defendants must establish that: (1) the potential

disruptiveness outweighs the value of the speech; (2) their prediction of disruption is

reasonable; and (3) SUNY Fredonia’s actions were intended to address “this

disruption and not in retaliation for the speech.” Locurto v. Giuliani, 447 F.3d 159,

172–73 (2d Cir. 2006). The Defendants cannot satisfy that burden: exploring

challenging ideas is not disruptive to a university—it is the purpose of a university,

where the ability to question the unquestionable is central to the academic enterprise.

This purpose cannot be subordinated to a social media veto. The restrictions on

Kershnar’s speech were never justified, not even at the outset, and their continuation

long after public interest faded is unrelated to any possible disruption. Instead,

President Kolison’s words and conduct demonstrate that he took immediate action—

and continued Kershnar’s exile—in reaction to Kershnar’s viewpoint, not to prevent

disruption.




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             1.     Public condemnation cannot outweigh the value of provocative
                    opinions in the context of a public university.

      Defendants cannot make their initial showing because the unfettered

exchange of ideas by faculty members—including Kershnar, as SUNY Fredonia’s

years of praise illustrate—is central to the university’s purpose. And, as Levin

establishes, opposition to a faculty member’s views cannot overcome the value of open

inquiry or a professor’s interest in advancing controversial views. To do otherwise

would impose a heckler’s veto over the marketplace of ideas.

      Defendants will no doubt charge that the value of Kershnar’s allegedly

“reprehensible” speech is beneath the university’s “values.” (Steinbaugh Decl. ¶¶ 16–

17, Exs. 13–14.) But speech does not derive its constitutional protection based on

popularity, correctness, or conformity with a university president’s personal values.

The value of speech doesn’t depend on whether we find it agreeable—sometimes its

value is best served by sparking dissension. To the contrary, speech may “best serve

its high purpose” when it angers others, as speech “is often provocative and

challenging” and may “have profound unsettling effects as it presses for acceptance

of an idea.” Terminiello v. Chicago, 337 U.S. 1, 4 (1949).

      SUNY’s long praise for Kershnar’s “iron-sharpens-iron” method of inquiry and

debate reflects these principles, which the First Amendment zealously guards in

higher education. (Steinbaugh Decl. ¶¶ 6–8, Exs. 3–5.) University faculty, our

Supreme Court has warned, must “always remain free to inquire,” particularly “in

the social sciences, where few, if any, principles are accepted as absolutes.” Sweezy v.

New Hampshire, 354 U.S. 234, 250 (1957). That national interest in the unfettered



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exchange of ideas does not genuflect to the hostile mob, real or imagined, online or

off. The “acknowledged need for order” on university campuses cannot justify diluting

the potent protections of the First Amendment. Healy v. James, 408 U.S. 169, 180

(1972). Rather, the “vigilant protection of constitutional freedoms is nowhere more

vital” than on America’s college campuses. Id. (quoting, in part, Shelton v. Tucker,

364 U.S. 479, 487 (1960)).

      These principles animated the Second Circuit’s ruling in Levin, which

established that a public university president can neither interfere with a faculty

member’s classes nor initiate disciplinary action based on opposition to a professor’s

extramural speech. Levin, 966 F.2d at 88–90.

      In Levin, a philosophy professor’s extramural remarks on race spurred public

furor and roiled the City College of the City University of New York campus. Id. at

87. Unlike SUNY Fredonia’s nonspecific allusions to potential “safety” concerns, the

risk of violence and disruption in Levin was manifest and immediate, not conjectural.

The district court recounted death threats left in the professor’s mailbox and on his

office door (“We know where you live you Jewish bastard your time is going to come”),

a death threat to his dean, student protests outside and inside his classrooms, and a

“melee with security” outside his class. Levin v. Harleston, 770 F. Supp. 895, 903–05

(S.D.N.Y. 1991). Officials opted against sanctioning disruptive student protesters,

fearing “chaos on the campus.” Id. at 906.

      In response to these ongoing safety threats, the Levin defendants imposed less

drastic measures than those taken by SUNY Fredonia’s leadership. The president in




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Levin, invoking his disciplinary authority, publicly announced an investigation into

the philosophy professor. Levin, 966 F.2d at 89. And while still allowing the professor

to teach, administrators created alternate, “shadow” course sections to allow students

to avoid interaction with the professor. Id. at 87–88.

      Despite the considerable safety concerns and actual disruption, the Second

Circuit said it would not hesitate to correct the university administrators’

abridgement    of   “basic   constitutional    values.”   Id.   at   88.   Administrators’

“encouragement of the continued erosion in the size of Professor Levin’s class”

(through offering “shadow” classes) was itself “an infringement on Professor Levin’s

First Amendment rights.” Id. So, too, was the implicit threat of disciplinary

proceedings engendered through maintenance of a long investigation—even though

the investigation ultimately vindicated the professor. Id. at 88, 90.

      SUNY Fredonia’s actions here are less justifiable than those in Levin, where

pressure was from student protesters interrupting classes. Id. at 90. In this case,

neither Kershnar nor members of the campus community are responsible for any

disruptive speech, which instead came from outside social media critics. Berger v.

Battaglia, 779 F.2d 992, 1001 (4th Cir. 1985) (holding disruption “caused not by the

speech itself but by threatened reaction to it by offended segments of the public”

cannot satisfy Pickering); accord Flanagan v. Munger, 890 F.2d 1557, 1566 (10th Cir.

1989) (“reaction by offended members of the public” insufficient to satisfy Pickering

balancing), Gala v. City of N.Y., 525 F. Supp. 3d 425, 431 (E.D.N.Y. 2021) (“the

balancing test evaluates internal disruptions; it does not generally permit the public




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to curtail unpopular ideas with the government’s help”). Such “community reaction

cannot dictate whether an employee’s constitutional rights are protected[,]” and

“allowing the public, with the government’s help, to shout down unpopular ideas that

stir anger” is inconsistent with constitutional values. Melzer, 336 F.3d at 199.

      Our constitutional system has long held that peaceful speakers are “not

chargeable with the danger, unprovoked except by . . . the constitutionally protected

[expression] itself, that their critics might react with disorder or violence.” Brown v.

Louisiana, 383 U.S. 131, 133 n.1 (1966) (plurality op.); see also, e.g., Goza v. Memphis

Light, Gas & Water Div., 398 F. Supp. 3d 303, 320 (W.D. Tenn. 2019) (public utility’s

concern for its “reputation is not sufficient to outweigh” employee rights, as “[v]oters

cannot use the ballot box to make the government silence their opponents; the public

cannot use social media to do so either”).

      To allow the loudest, least tolerant, and most illiberal segments of society to

dictate by tweet who can teach at a university openly invites censorship. If the

president in Levin could not limit a philosophy professor’s First Amendment rights

to staunch public anger, President Kolison cannot do so now. 966 F.2d at 91; see also

Bible Believers v. Wayne Cnty., 805 F.3d 228, 252–53 (6th Cir. 2015) (en banc) (police

cannot, as an “expedient alternative” to preventing disruption “destroy the right to

free speech by indefinitely silencing the speaker”).

             2.     Defendants did not, could not, and cannot now reasonably predict
                    disruption from Kershnar’s speech.

      The “closer the employee’s speech reflects on matters of public concern,” as

here, “the greater must be the employer’s showing that the speech is likely to be



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disruptive[.]” Jeffries v. Harleston, 52 F.3d 9, 13 (2d Cir. 1995). Defendants cannot

make this “substantial” showing. Id. Kershnar’s speech presented no basis to believe

he was a danger to anyone and Fredonia’s reaction to it was an act of retaliation,3 not

an effort to prevent disruption. While others’ reactions can never justify silencing a

scholar, Defendants’ decisions to extend Kershnar’s exile, even as those reactions

waned, reveal that their professed concern for public safety was purely pretextual.

      From the outset, President Kolison’s statements made clear that he viewed

Kershnar—not his detractors—as the problem. Kolison’s actions directly targeted

Kershnar as an individual, and had nothing to do with any possible disruption.

President Kolison barred Kershnar from speaking to the “campus community”—an

action that served only to prevent Kershnar from speaking. Rather than investigate

alleged threats,4 President Kolison immediately directed campus police to seize and

search Kershnar’s computer. Kolison’s public statements pledged not that he was

taking steps to protect students from disruption, but to protect students from

Kershnar.

      Kolison’s unreasonable speculation that Kershnar posed a risk because he

expressed an idea is diametrically opposed to a university’s raison d’etre. Imagine

dispatching drug-sniffing dogs when a political science professor says marijuana




      3 As discussed in I(B)(3) below (at pp. 20-21), President Kolison’s retaliatory
motive alone means his immediate decisions to remove Kershnar from campus and
launch a police investigation into him cannot pass constitutional muster.
      4  That SUNY Fredonia did not catalog reported threats as criminal incidents
is a strong indication that officials didn’t believe the public response to be disruptive.


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should be legalized, or ransacking a law professor’s office for “TOP SECRET” files

after suggesting our nation’s classification system is too broad. Kolison’s extreme

overreaction was unreasonable because he conflated ideas with actions.

      Goza illustrates the danger of making assumptions about unpopular speech.

In 2017, a public utility employee commented on Facebook appearing to condone

white nationalist violence in Charlottesville, adding: “Amen, brother.” Goza, 398 F.

Supp. 3d at 322. When social media users drew attention to his post, the utility

indefinitely suspended the employee pending an investigation, fearing his comments

reflected propensity for violence or bigoted conduct. Id. at 319–20, 323. The court

found the prediction of danger to be “unreasonable” because the employee had

consistently “received favorable reviews” during his employment, had never received

a complaint of “violent behavior or racial animus,” and his Facebook comment was

not a clear endorsement of violence. Id. at 322–23.

      In Goza, there was at least some plausible argument that the employee

harbored sympathy for racist violence. In contrast, Kershnar is a university professor

whose scholarly work explores transgressive ideas. That much would have been

obvious had President Kolison reviewed SUNY Fredonia’s own website biography of

Kershnar. And, as with the employee in Goza, no student had complained about

Kershnar when President Kolison separated him from campus and initiated an

investigation.

      If the concern was instead with social media reaction to Kershnar’s speech,

Goza also shows—again—that the unpopularity of ideas cannot legitimize a heckler’s




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veto. Goza, 398 F. Supp. 3d at 320–21. If “going viral” were a “reasonable justification”

for suppressing speech, officials could “censor certain viewpoints based on the whims

of the public — or, worse, based on a government official’s speculation as to the

public’s eventual reaction.” Id. at 321. That risk is especially pernicious in higher

education, where “free speech is of critical importance because it is the lifeblood of

academic freedom.” DeJohn v. Temple Univ., 537 F.3d 301, 314 (3d Cir. 2008).

      Yet even if interim measures might have been warranted initially, speculation

of disruption became even less reasonable as public attention waned. (Verif. Compl.

¶ 152; Steinbaugh Decl. ¶ 33, Ex. 31). Although the Clery Act requires SUNY

Fredonia to log any incident in its daily crime log (34 CFR 668.46(f)(1)), the

university’s log reflects no threats directed at Kershnar. (Steinbaugh Decl. ¶ 31,

Ex. 29). If the university was aware of threats, it would have had to log them. Nor did

SUNY Fredonia alert local, county, or state police of any threats, and the FBI is

unaware of any credible threats to his safety. (Steinbaugh Decl. ¶¶ 25–30, Exs. 24–

28; Kershnar Decl. ¶ 11, Ex. 41).

      Given that disruption never materialized and public attention dissipated,

Defendants’ decisions in August, September, and November of 2022—nearly a year

after the controversy—lacked any plausible support. And their continued refusal to

reconsider Kershnar’s banishment is wholly unreasonable now.




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             3.     President Kolison took action because he objected to Kershnar’s
                    views, not because of disruption.

      Even if Defendants could otherwise “prevail[] in the balancing test,” Kershnar

“may still carry the day” because Defendants’ “motivation . . . was retaliation for the

speech itself, rather than for any resulting disruption.” Melzer, 336 F.3d at 193.

      President Kolison’s retaliatory intent is apparent in both word and deed. His

denunciations of Kershnar (“abhorrent” and inconsistent with campus “values”) alone

show retaliatory intent. And, as above, Kolison’s actions speak louder than his words,

manifesting a belief that Kershnar’s ideas made him dangerous.

      Skepticism is critical when officials claim censorship serves public order. The

need for a heckler’s veto “will nearly always be susceptible to being reimagined and

repackaged as a means for protecting the public, or the speaker himself, from actual

or impending harm.” Bible Believers, 805 F.3d 228 at 255. That’s why officials’

reactions must be scrutinized to determine whether they first took bona fide efforts

to prevent disruption—or, instead, sacrificed the rights of the speaker as an

“expedient alternative to” addressing others’ disruptive conduct. Id. at 252.

      If any actual safety issues arose from opposition to Kershnar’s views, SUNY

Fredonia made no effort to address those concerns instead of silencing Kershnar. It

could have taken narrower measures: increasing police presence, posting an officer

outside the class, reporting threats to law enforcement, seeking prosecution for any

threats, or—if these alternatives failed—permitting Kershnar to teach remotely. See,

e.g., Bible Believers, 805 F.3d at 254 (listing “easily identifiable measures that could




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have been taken short of removing the speaker” in the face of mob violence).5

Kershnar offered from the outset to teach remotely, which would significantly reduce

the possibility of physical violence.

      Rather than explore ways to protect safety without exiling Kershnar from the

classroom, President Kolison decreed that Kershnar would “not have contact with

students.” (Steinbaugh Decl. ¶ 17, Ex. 14.) President Kolison’s actions revealed that

the university’s concern was not—as it pretends—concern for Kershnar’s safety, but

was instead President Kolison’s irrational belief that because Kershnar raised a

moral question, he must be immoral himself. Yet people regularly offer ideas not to

advance their own interests, but because they find the question worth exploring.

That’s the purpose of philosophy professors and a reasonable university president

would recognize as much.

      Shorn of the public safety pretext, what’s left? Only President Kolison’s disdain

for Kershnar’s views. Yet both the public safety fig leaf and President Kolison’s

opposition are two sides of the same coin: viewpoint discrimination.

II.   Kershnar Is Likely to Succeed on His Retaliation Claim.

      Kershnar can show First Amendment retaliation on his second cause of action,

for retaliation, because “[1] he has engaged in protected [speech], [2] he suffered an




      5 In contrast, SUNY Fredonia recently demonstrated how it responds to actual
threats. Following an online threat of gun violence, campus police launched an
investigation, identified the sender, increased on-campus security, and decided not to
cancel classes. Chloe Kowalyk, The threats made on Thompson Hall: One semester
later, THE LEADER (May 3, 2023), https://fredonialeader.org/news/2023/05/03/threats-
made-on-thompson-hall [perma.cc/9QWQ-MQ4Q].


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adverse employment action, and [3] there was a causal connection” between his

speech and the action. Smith v. Cnty. of Suffolk, 776 F.3d 114, 118 (2d Cir. 2015).

      A.     Defendants’ adverse responses to Kershnar’s                     protected
             expression exceed those taken in Levin.

      Because Defendants’ responses surpass the unconstitutional steps taken in

Levin, they are adverse employment actions—that is, any action sufficient to “deter

a similarly situated individual of ordinary firmness from exercising” constitutional

rights. Specht v. City of N.Y., 15 F.4th 594, 604 (2d Cir. 2021).

      Defendants’ actions here exceed Levin in several respects. First, the philosophy

professor in Levin was permitted to continue teaching, and administrators’ actions to

encourage the dilution of his class size by offering “shadow” classes was the

“antithesis of freedom of expression.” Levin, 966 F.2d at 88. President Kolison and

Provost Starrett, in contrast, have reduced Kershnar’s class size to zero.

      Second, like the president in Levin, Kolison publicly denounced Kershnar and

announced an investigation into his extramural speech, invoking possible

disciplinary sanctions. See Levin, 966 F.2d at 89. And, as in Levin, President Kolison

disregarded “admonitory letters” raising concerns about free expression. Id.;

(Steinbaugh Decl. ¶¶ 21–24, Exs. 20–23.) But here, President Kolison and Provost

Starrett have gone even further. They publicly removed Kershnar from campus (a

step never taken in Levin) and directed law-enforcement officers to carry out their

investigation by searching his office and his computer, raising the specter of criminal

consequences for his speech. Third, while the Levin investigation ultimately




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concluded in the professor’s favor after a ten-month investigation, SUNY Fredonia’s

alleged investigation has carried on for sixteen months.6

       B.    Kolison’s immediate denunciation of Kershnar shows causation.

       Kershnar can demonstrate a causal connection between his speech and the

adverse action. The causal connection may be established “either directly through a

showing of retaliatory animus, or indirectly through a showing that the protected

activity was followed closely by the adverse action.” Smith, 776 F.3d at 118. President

Kolison’s statements denouncing Kershnar’s views show both retaliatory animus and

temporal proximity: each statement expressly condemned Kershnar’s speech and the

first statement was issued within hours of the initial tweets condemning Kershnar.

III.   Kershnar Is Likely to Succeed on His Prior Restraint Claim.

       Kershnar is also likely to succeed in his third cause of action, challenging

Defendants’ imposition of a prior restraint on his speech.

       For sixteen months, Kershnar has been forbidden from speaking to anyone in

the “campus community” without permission of a human resources director. No-

contact directives are an obvious form of prior restraint, prohibiting future speech

before it occurs. See, e.g., DeJong v. Pembrook, No. 3:22-CV-01124-NJR, 2023 U.S.

Dist. LEXIS 46763, at *37–39 (S.D. Ill. Mar. 20, 2023) (“a no-contact directive can

qualify as a prior restraint”); Satter v. Wash. State Dep’t of Ecology, No. C09-5645

BHS, 2010 U.S. Dist. LEXIS 57062, at *15 (W.D. Wash. June 8, 2010) (directive to




       6The Levin investigation began in March 1990 and concluded in February
1991. Levin, 966 F.2d at 89; Levin v. Harleston, 770 F. Supp. 895, 912 (S.D.N.Y. 1991).


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not contact any other employee “constitutes a prior restraint of possible matters of

public concern”).

       Prior restraints are “the most serious and least tolerable infringement on First

Amendment rights.” Nebraska Press Ass’n v. Stuart, 427 U.S. 539, 559 (1976). The

gravity of harm posed by prior restraints is such that the “chief purpose” of the First

Amendment was to prevent their use. Near v. Minnesota, 283 U.S. 697, 713 (1931).

The weighty concerns implicated by prior restraints “may be considered as factors in

balancing the relevant interests under Pickering” as applied to limits on employee

speech. Harman v. City of N.Y., 140 F.3d 111, 118 (2d Cir. 1998).

       Defendants’ limit on Kershnar’s speech is broad. Because it is not limited by

subject matter, it reaches all speech on matters of public concern. And the potential

audience is large, including thousands of faculty, students, or staff—or anyone else

President Kolison might in retrospect deem member of the “community.” Because

Fredonia is a college town, the directive limits Kershnar’s speech not just in his

workplace, but to members of his residential community—including people he may

not know to be faculty, staff, students, or other members of the “campus community.”

       The breadth of this restraint has meaningful adverse effects on Kershnar. The

president of his institution repeatedly denounced him in statements to the very

community Kershnar is forbidden from contacting. (Steinbaugh Decl. ¶¶ 16–17,

Exs. 13–14.) His colleagues have debated his comments, yet Kershnar cannot

respond. (Verif. Compl. ¶¶ 170–71.) No legitimate purpose is served by a restriction

of this scope.




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IV.   The Remaining Factors All Favor Injunctive Relief.

      Each of the remaining considerations favor injunctive relief. First, injunctive

relief serves the public interest. On top of the weighty public interest in academic

freedom, safety concerns can be addressed through narrower measures. “No public

interest is served” through unconstitutional measures “when constitutional

alternatives are available to achieve the same goal.” Agudath Israel of Am. v. Cuomo,

983 F.3d 620, 637 (2d Cir. 2020). Second, Kershnar is not asking this court to compel

a university to offer courses it does not want to offer, nor displace another instructor.

He seeks only eligibility to resume his normal teaching duties.

                                   CONCLUSION

      Plaintiff’s motion should be granted. Academic freedom and freedom of

expression require the ability to offer unpopular views without fear of censorship.

Dated: June 12, 2023                        Respectfully submitted,

                                            /s/ Barry N. Covert            .
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